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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA,                  §
                                           §
                    Government,            §
                                           §
VS.                                        §     CRIMINAL NO. H-13-599-1
                                           §
SEGIO MOLINA BECERRA,                      §
                                           §
                    Defendant.             §


                               ORDER OF REFERRAL

       Having considered the defendant’s consent, this cause is hereby referred to United

States Magistrate Judge Nancy Johnson for the purpose of administering the plea of guilty

and the FED.R.CRIM.P. 11 Allocution, subject to the final approval and imposition of

sentence by this Court.

             SIGNED on April 16, 2014, at Houston, Texas.


                                               ______________________________________
                                                        Lee H. Rosenthal
                                                  United States District Judge
